
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date December 15, 1966.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petitions for certiorari and for attorney’s fees are therefore denied.
It is so ordered.
ROBERTS, Acting C. J., and O’CON- . NELL, CALDWELL and ERVIN, JJ., concur.
DREW, J., dissents with Opinion.
